EXHIBIT A
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In re Deutsche Bank AG Securities Litigation, No. 1:09-cv-01714-GHW-RWL
                   Robbins Geller Rudman & Dowd LLP
                     Inception through April 17, 2020

           NAME                      HOURS      RATE      LODESTAR
 Alba, Mario                  (P)       11.75    870    $     10,222.50
 Brown, Andrew J.             (P)    1,025.70    845         866,716.50
 Burkholz, Spencer A.        (P)        39.50   1,200         47,400.00
 Daley, Joseph D.             (P)       42.15    970          40,885.50
 Green, Kevin K.              (P)       10.50    750           7,875.00
 Hubachek, Steven F.          (P)    1,104.90   1,100      1,215,390.00
 Isaacson, Eric A.           (P)        50.00    885          44,250.00
 Montgomery, Mathew P.       (P)        93.75    585          54,843.75
 Niehaus, Eric I.             (P)    4,540.90    840       3,814,356.00
 Olts, Lucas F.               (P)    1,277.15    850       1,085,577.50
 Pepich, Steven W.           (P)       392.35   1,150        451,202.50
 Pintar, Theodore J.          (P)      158.10   1,100        173,910.00
 Robbins, Darren J.          (P)        27.00   1,325         35,775.00
 Rosenfeld, David A.          (P)       26.25    920          24,150.00
 Lavelle, Kevin A.           (A)     1,232.35    560         690,116.00
 Royal, Meghan A.            (A)         8.00    400           3,200.00
 Sciarani, Kevin             (A)     2,092.50    540       1,129,950.00
 Stewart, Christopher D.     (A)       442.25    580         256,505.00
 Bays, Lea M.              (OC)         23.05    775          17,863.75
 Prado, Svenna             (OC)          8.50    775           6,587.50
 Walton, David C.          (OC)         11.10   1,080         11,988.00
 Kerkhoff, Lauren G.       (SA)        921.00    425         391,425.00
 Moyer, Joshua E.          (SA)        200.50    375          75,187.50
 Petix, Andrew T.          (SA)        232.40    400          92,960.00
 Vernon, Lindsay N.        (SA)      1,022.65    390         398,833.50
 Aronica, R. Steven        (FA)         67.00    750          50,250.00
 Sader, Brad C.            (FA)         28.00    600          16,800.00
 Yurcek, Christopher J.    (FA)        750.10    750         562,575.00
 Barhoum, Anthony J.       (EA)          5.50    430           2,365.00
 Roelen, Scott R.          (RA)         56.70    295          16,726.50
 Wilhelmy, David E.        (RA)          8.50    295           2,507.50
 Brandon, Kelley T.            (I)      23.00    290           6,670.00
 Courtney, Jean M.             (I)      15.00    125           1,875.00
          NAME                    HOURS     RATE     LODESTAR
Peitler, Steven J.           (I)     69.50   290         20,155.00
Milliron, Christine        (LS)       5.20   375          1,950.00
Paralegals                        1,031.90 265-350      350,015.00
Document Clerks                     247.65   150         37,147.50
Shareholder Relations                54.50 95-100         5,270.00
          TOTAL                  17,356.85         $ 12,021,477.00
(P) Partner
(A) Associate
(OC) Of Counsel
(SA) Staff Attorney
(FA) Forensic Accountant
(EA) Economic Analyst
(RA) Research Analyst
(I) Investigator
(LS) Litigation Support
